    Hogarth v. Brinson Bell, et al.
            Case No. 5:24-cv-00481-FL




   Exhibit N to Adam
      Steinbaugh
     Declaration in
  Support of Plaintiff's
      Motion for
      Preliminary
      Injunction




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                                                                                                            Mailing Address:
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                                                      2015 – 2022 NCSBE Referred Cases

         The following chart reflects all referred cases by the North Carolina State Board of Elections between 2015 and the present by category.


                                                                                                       Interfering        Non-
                                                                                                         with an         Citizen
                Double   Felon     Felon       Impersonation       Vote-     ABS         Voter          Election        Registrant
 Year           Voter    Voter   Registrant      of a Voter       Buying    Fraud     Registration       Official        /Voter       Other       Total

  2015
  30TU    30T       21       9             1                  2         3         1               1                0              3           3      44

  2016               9      16             0                  1         0         3               0                2              2           3      36

  2017               7     422             5                  1         0         0               0                0              0           0     435

  2018              12      12            12                  1         1         3               6                1              1           0      49

  2019               0       0             2                  0         0         3               0                0              0           1       6

  2020               3      49             0                  2         0         1               0                0              1           2      58

  2021              12      16             0                  4         0         1               0                0              1           0      34

  2022               5       6             0                  1         0         0               0                0              0           0      12

 Total              69     530            20                12          4        12               7                3              8           9     674


                                                                                                                                                      1
*Data as of 01/24/2023
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